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                Exhibit A
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THOMAS A. CLARE, P.C.
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                                                April 16, 2021

    Via Email

    Joshua A. Levy
    Levy Firestone Muse LLP
    1701 K Street NW, Suite 350
    Washington, DC 20005
    jal@levyfirestone.com


                           Re:     Mikhail Fridman, et al. v. Bean LLC, et al., No. 1:17-02041(RJL),
                                   in the United States District Court for the District of Columbia

    Dear Josh:
           I write on behalf of Plaintiffs in the above-referenced matter.
            I understand that last week, Plaintiff German Khan’s son-in-law, Alex van der Zwaan,
    received a telephone call from Zuckerman Spaeder partner William “Bill” Taylor. As you know,
    Mr. Taylor and several of his colleagues at Zuckerman were formerly counsel of record for
    Defendants in this case prior to your involvement, and Mr. Taylor indicated to Mr. van der Zwaan
    that he and Zuckerman continue to represent Defendant Fusion GPS and to have some involvement
    in this matter. During that telephone call, Mr. Taylor made an explicit settlement overture to Mr.
    van der Zwaan. Mr. Taylor alluded to a belief that the Court’s recent discovery rulings have put
    some kind of undesired pressure on Plaintiffs, and he encouraged Mr. van der Zwaan to take a
    message to his father-in-law that it would be in Plaintiffs’ interests to settle this matter in light of
    those rulings.
            As you—and Mr. Taylor—know, Mr. Khan and the other Plaintiffs are represented by counsel
    in this matter. An attempt by Defendants’ counsel to communicate a settlement offer to a family
    member of an adverse party would appear to be in clear violation of the spirit, if not the letter, of
    D.C. Rule of Professional Conduct 4.2. Thus, this “back-channel” outreach raises several concerns
    that need to be addressed. First, please confirm that you were not aware of Mr. Taylor’s effort and
    that you did not authorize it. Second, we would like to know how this effort came about, and who
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did authorize it. And finally, please confirm that there have not been—and that there will not be—
any similar clandestine attempts by counsel for Defendants to skirt the prohibitions on
communications with parties represented by counsel.
        Moreover, and for the avoidance of doubt, let me be very clear that Mr. Taylor’s speculation
concerning Plaintiffs’ assessment of Judge Leon’s recent rulings is entirely misplaced. As I expressed
to you during our telephone conversation on April 4, Plaintiffs are pleased with the Court’s rulings
which, collectively, demonstrate a desire on the part of the Court that the parties continue to press
forward with fact discovery in this case. We are working diligently to collect and produce documents
in accordance with Judge Leon’s rulings, and we expect that you are doing the same with respect to
the Court’s ruling concerning Defendants’ inadequate privilege log. To that end, please let me know
your availability between Thursday, May 6 and Tuesday, May 11 to meet and confer regarding
Defendants’ updated privilege log, as ordered by Judge Leon.
        Finally, consistent with Judge Leon’s recent efforts to keep discovery in this case moving
forward, I reiterate the request I made during that April 4 phone call that you promptly provide
dates in early- to mid-May for the depositions of Fusion partner Jason Felch and Fusion managing
agent Jacob Berkowitz. If I do not receive proposed dates from you by Tuesday of next week,
Plaintiffs will notice the depositions for dates and times of their choosing—and will request the
Court’s assistance in compelling Mr. Felch and Mr. Berkowitz’s attendance, if necessary.




                                                      Sincerely,




                                                      Thomas A. Clare, P.C.




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